                    IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE AT COOKEVILLE

 BECKY A. SELBY,                             )
                                             )
       Plaintiff/Counter-Defendant,          )   Case No. 2:20-CV-00016
 v.                                          )
                                             )   Chief Judge Waverly D. Crenshaw, Jr.
 HOLLY T. SCHROEDER,                         )   Magistrate Judge Alistair E. Newbern
                                             )
       Defendant/Counter-Plaintiff.


                                 NOTICE OF APPEARANCE

         Comes now Austin M. Correll, of the law firm of Sherwood Boutique Litigation, PLC, and

hereby gives notice of his appearance as co-counsel for Defendant/Counter-Plaintiff Holly T.

Schroeder in this matter.



                                                    Respectfully Submitted:

                                                    Sherwood Boutique Litigation, PLC

                                                    /s/ Austin M. Correll
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served via the

Court’s electronic case filing system:

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this the 17th day of February 2022.

                                                    /s/ Austin M. Correll




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